
677 S.E.2d 458 (2009)
STATE of North Carolina
v.
Clyde Kirby WHITLEY.
No. 168P09.
Supreme Court of North Carolina.
April 30, 2009.
Clyde Kirby Whitley, Pro Se.
Charles E. Reece, Assistant Attorney General, Howard S. Boney, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 20th day of April 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Nash County, the following order was entered and is hereby certified to the Superior Court of that County:

*459 "Dismissed by order of the Court in conference, this the 30th day of April 2009."
